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IN THE UNITED sTATEs DISTRICT CoU T 155 2 411 ?G`l§
FoR THE NoRrHERN DISTRICT oF TEX s
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CLER‘K, U 31 DiSIRICT COURT

By Deputy

 

UNITED sTATEs oF AMERICA 5

v. No.4118-l\/IJ- gay

MoHAMED ToURE (1)
DENISE CRos-ToURE (2)
CRIMINAL CoMPLAINT

 

l, Special Agent Katherine Langston, the undersigned Complainant, being duly sworn,

state the following is true and correct to the best of my knowledge and belief:

BACKGROUND
l am a Special Agent with the U.S. Department of State, Diplomatic Security Service
(DSS) and currently assigned to the Houston Field Office. The information in this Affidavit is
based on my investigation, my training, knowledge, and experience, and through Diplomatic
Security Service information that has been related to me through data, reports, other agents,

sworn law enforcement officers, and reliable witnesses

INTRODUCTION
l. l am a “federal law enforcement officer” within the meaning of Federal Rule of
Criminal Procedure 4l(a)(2)(C), that is, a government agent engaged in enforcing the criminal

laws and duly authorized by the Attorney General to request a search warrant.

2. l have been a DSS Special Agent since 2011 and am currently a participant of the
Houston Human Trafficking Task Force (HTTF). The HTTF is a collaboration of local, state
and federal law enforcement agencies working together to develop human trafficking
investigations and prosecutions in the Houston area. As a DSS Special Agent, I have led,
participated or consulted on over 100 investigations and arrests, to include those involving forced

labor and sex trafficking, smuggling and harboring of illegal aliens, and passport and visa fraud.

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Prior to DSS, l was a Special Agent with the U.S. Secret Service beginning in 2002, where l
received training in the preparation, presentation, and service of criminal arrest and search

warrants and conducted criminal investigations of federal offenses

3. I have personally participated in this forced labor investigation since September
22, 2016, and have obtained the facts set forth in this affidavit through my participation in the
investigation described below by conducting interviews of witnesses; from oral and written
reports of other law enforcement officers; and from records, documents and other evidence
obtained during this investigationl l have also relied on additional information provided by other
law enforcement organizations, including, but not limited to: Southlake Police Department,
Department of Homeland Security, Texas Department of Public Safety, and Texas Workforce
Commission. Since this affidavit is being submitted for the limited purpose of securing a
criminal complaint, l have not included each and every fact known to me concerning this

investigation

4. This affidavit sets forth facts, and suggests reasonable inferences from those facts,
establishing that there is probable cause to believe that between October 28, 2000, and
continuing through in or about August 2016, in the Northern District of Texas, Fort Worth
Division:

a. Mohamed Toure, and
b. Denise Cros-Toure,
have each aided and abetted each other in committing the offenses of Forced Labor under 18

U.s.C. §§ 1589 and 2.l

PROBABLE CAUSE
5. On September 22, 2016, the YMCA International Services referred a potential
forced labor matter to the HTTF. As a result, the DSS Houston Field Office initiated a forced

labor investigation, and l was assigned as the lead case agent. Through the course of the

 

l Section 1589 was enacted on October 28, 2000.

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investigation, l have identified Mohamed Toure (“Toure”) and Denise Cros-Toure (“Cros-
Toure”) as individuals who harbored Female Victim 1 (“FV-l”), a young girl from Guinea,
Africa, who was unlawfully present in the United States, in their home in Southlake, Texas, and
through force, fraud, and coercion compelled her to provide labor and domestic services, to
include but not limited to cooking, cleaning and providing childcare, without pay for 16 years

between approximately January 2000 and August 2016.

Background Information
6. Through the investigation, l determined that FV-l is citizen and national of
Guinea. FV-l entered the United States through the lnternational Airport Houston (IAH) Port-
of-Entry on January 19, 2000, with her Guinea Passport and a U.S. B-Z Non-Immigrant Visa
(NIV), commonly known as a “tourist visa.” Records show that FV-l ’s B-2 NIV was issued on
December 22, 1999, and expired on March 21, 2000. An individual who remains in the United

States past the expiration of his or her B-2 NIV remains in the United States in violation of law.

7. Through the investigation, l determined that FV-l was a minor when she entered
the United States. FV-l ’s Guinea passport and B-Z NIV listed her date of birth (DOB) as March
31, 1994, indicating that she would have been 5 years old in January 2000. l have also reviewed
the photograph on her passport, which was issued on May 18, 1999, and she appears to be a
child.2

8. DSS Special Agents have interviewed FV-1 multiple times beginning on October
28, 2016. FV-l stated that she was born in Guinea and lived in a village with her family in a
one-room, mud hut with a thatched roof and no electricity. Her father was a farmer and her
mother sold produce to support their family. Although FV-l occasionally attended school, she is
not literate. She grew up speaking Malinké, a language spoken in Guinea, and a little French.

She did not know English when she arrived in the United States in January 2000.

 

2 According to FV-l, she does not know her actual age and has never celebrated her birthday She believes that she
is the same age as Toure and Cros-Toure’s oldest child, who was born in 1991. Toure and Cros-Toure also told
Southlake Police Department that FV-l was born in 1990 during an incident described below. Additionally, an
unverified Guinea birth certificate obtained during the investigation, listed FV-l DOB as May 10, 1986, indicating
that she could have been 14 years old in January 2000.

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9. Through the investigation, l determined that Toure and Cros-Toure are also from
Guinea and are familiar with the U.S. immigration system. Cros-Toure obtained a U.S. B-2
NIV in 1980 and is believed to have stayed beyond its expiration. Toure was granted asylum
from Guinea on October 27, 2000, and as a result, Cros-Toure was granted derivative asylum

status as his wife. Both later became U.S. Lawful Permanent Residents in 2005.

10. Through the investigation, l determined that Toure and Cros-Toure are educated
and have significant assets despite not appearing to work in the United States. They purchased
their current home, which is located in Southlake,Texas, for approximately $370,000 in 1991,
while Cros-Toure was enrolled in college. The home is currently valued at approximately
$590,000. Texas Workforce Commission records do not reflect any employment for Toure and
show that Cros-Toure briefly worked for Delta Airlines Incorporated from approximately July
2005 to June 2006 and later as a substitute teacher beginning in 2016. Bank records reflect
significant overseas deposits that appear to be Toure and Cros-Toure’s primary source of
income in the United States. For example, between 2010 and 2016, records reflect that they
received on average approximately $200,000 a year. Together, they have five children who were
born in the United States in 1991, 1992, 1995, 1998, and 2002, and who are attending high

school or enrolled in college.

FV-l’s Entr'v Into the United States
11. FV-l stated that she was young when her father asked her if she wanted like to go
work in the city (in Guinea). He then brought her to the horne of Cros-Toure’s parents (“the
Cros family”), where FV-l stayed for approximately one to two years and cared for the Cros
family’s blind daughter (Cros-Toure’s sister). FVI recalled an incident when she was upset and

the Cros family told her to stop crying because they were her family now.

12. At some point during the time FV-l was working for the Cros Family in Guinea,
Cros-Toure’s mother and blind sister traveled to the United States to visit Cros-Toure,

Subsequently, Cros-Toure’s father drove FV-l to an airport and placed her on a plane to the

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United States. FV-l does not recall much about the trip to the United States. She traveled alone,

and her most vivid memory is of a kind flight attendant who gave her cookies and a toy.

13. FV-l landed in Houston, Texas, and took a connecting flight, by herself, to
Dallas. Toure, Cros-Toure’s sister, and the three oldest Toure children, who were
approximately 5, 8, and 9 years old at the time, were at Dallas/Ft. Worth lnternational Airport
when FV-l arrived. Toure then drove FV-l to the Toure family residence. lmmigration and
travel records further reflect that FV-l arrived in Houston on January 19, 2000. There are also
no records indicating that FV-l left the United States after her B-2 NIV expired on March 21,
2000.

14. FV-l stated that Toure and Cros-Toure took her Guinea passport and B-2 NlV
from her when she arrived in the United States. During a recorded conversation in 2016 that is
discussed below, Cros-Toure, in Toure’s presence, referenced FV-l not having her passport at

that time.

Working and Living Conditions in the United States
15. FV-l stated that, when she first arrived, Cros-Toure’s mother gave her orders
regarding her work at the Toure residence. Her initial job was to care for the Toure family’s
youngest son, who was approximately two. After Cros-Toure’s mother and sister returned to
Guinea, Cros-Toure took over giving FV-l directions regarding her work at the home. Over
time, FV-l ’s job responsibilities at the Toure residence increased Cros-Toure directed FV-l to
cook, clean, do the laundry, and garden, among other things, such as mowing the lawn and

painting

16. FV-l stated that her work schedule was the same every day of the week. She
typically started work between 6:30 a.m. to 7:00 a.m. As soon as the Toure children left for
school, FV-1 would start cleaning, making the beds, vacuuming, cooking, and gardening, among
other things, depending on what needed to be done. She would continue to work until the

children went to bed at night.

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17. FV-l stated that she initially never left the Toure residence She was unfamiliar
with the area and did not speak English at the time She does not recall ever being left alone at
the residence Over time, Toure and Cros-Toure would send FV-l to buy ingredients at a
nearby grocery store that was within walking distance Cros-Toure would give FV-l cash to
make the purchases, and she would check the receipt and change upon FV-l ’s return. Since
FV-l could not read or write English, she would shop by sight for the vegetables that she
recognized and by the pictures on canned and boxed items. Toure and Cros-Toure also started

directing FV-l to walk their children to school.

18. DSS Special Agents interviewed Witnesses 1 through 4 (“W-l to W-4”), who all
observed FV-l performing labor and domestic services for Toure and Cros-Toure at various
times between 2000 and 2016. F or example, W-l stated that she observed FV-l covered in paint
and painting the walls of the Toure residence. W-2 and W-3 stated that they believed that Toure
and Cros-Toure had a “nanny,” because they had observed FV-l , walking the younger Toure
children to school, mowing the lawn, and walking the dogs. W-4 stated that FV-l did not appear
to have any friends, a social life or a job away from the Toure residence, and she always seemed

to be doing something for the Toure children, including walking them to school.

19. FV-l stated that Cros-Toure directed her to set the table for meals. Toure and
Cros-Toure did not allow her to eat with the family. W-l stated that she went to the Toure
home for dinner and observed FV-l serving the meal and cleaning afterwards and confirmed that

FV-l did not join the family for dinner.

20. Toure and Cros-Toure treated FV-l differently from their children, even though
they were close in age, because FV-l ’s purpose was to provide labor and domestic services in

the Toure residence Examples include but are not limited to the following:

a. The Toure children attended school, while FV-l did not. Records from the Carroll
lndependent School District show that the Toure children were enrolled in school.
There are no records that FV-l attended school. DSS Special Agents interviewed
Witness 5 (“W-S”), who asked Cros-Toure whether FV-l attended school, and Cros-

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Toure replied that it was too hard for FV-l. DSS Special Agents also interviewed
Witness 6 (“W-6”), who stated that Cros-Toure told her that FV-l had finished high
school. Additionally, records related to the Toure children identify “Other Children
Living at Home,” and while the other Toure children are named, FV-l is not
included.

b. FV-l stated that the Toure children learned to swim, ride bikes, use computers, and
drive The Toure children also competed in cross-country and other sports, and upon
high school graduation, they attended college Toure and Cros-Toure never
provided FV-l with any of those opportunities

c. W-5 stated that she met FV-1 at a school soccer game involving the Toure children in
2003. After meeting FV-l, W-5 would ask Cros-Toure if FV-l could come and play
with W-5’s children, but Cros-Toure would never allow it because she said FV-l
was too busy. Additionally, when W-5 would drop off the youngest Toure child after
soccer practice, FV-l always met the child outside to take him into the Toure home

d. Toure and Cros-Toure purchased cars for their three oldest children, while FV-l did
not have a car, per records from the Department of l\/Iotor Vehicles. Furthermore,
records from the Texas Department of Public Saf`ety confirm that the Toure children
had driver’s licenses, while FV-l did not.

e. FV-l stated that Cros-Toure did not furnish her with a wardrobe like the Toure
daughters The Toure daughters had closets full of clothes Cros-Toure
provided FV-l with old clothes, including some belonging to the Toure
sons Additionally, while Cros-Toure taught her daughters how to care and style
their hair and supplied them with hair products, she did not provide the same to FV-l.
W-5 stated that while the Toure children always looked neat and tidy, FV-l always
looked like she was wearing old, ill-fitting clothes l have also reviewed photographs
from the relevant time period that show FV-l and the Toure children, and the Toure’s
daughters appear to be wearing clean, current-trend clothes and their hair looks well-
kept, whereas FV-l appears to be wearing worn, ill-fitted clothing and her hair looks
unkempt. Furthermore, in 2002, a Southlake Police Department officer, who

encountered FV-l during an incident set forth below, described FV-l as “wearing

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dirty unkept clothing.”

21. FV-l stated that for years, Toure and Cros-Toure required her to sleep on the
floor in one of the Toure children’s bedrooms When one of the Toure children graduated from
high school, which the investigation determined was in 2011, FV-l was permitted to sleep on an
old twin bed in one of the rooms, while that child slept in a queen bed. FV-l was further
required to store her clothes in a dresser in the upstairs hallway for the majority of the time she

lived at the house

22. FV-l stated that Toure and Cros-Toure and their children took a vacation one
summer to Paris, France, and sent FV-l to live with another family in Dallas. Travel records
show that Toure and Cros-Toure and their children traveled from the United States to France in
the summer of 2003. No travels records were located for FV-l. ln my training and experience, l
know individuals departing or entering the United States on international flights are expected to
show a valid passport or other acceptable document that denotes identity and citizenship to
immigration officials ln 2003, FV-l was present in the United States in violation of law, as her
B-2 NlV had expired in March 2000. Furthermore, her Guinea passport expired on May 17,
2003,

23. FV-l stated that Toure and Cros-Toure never took her to a doctor’s office,
except on one occasion. On that occasion, approximately four years ago, FV-l woke up from a
horrible toothache. Toure and Cros-Toure drove her to their friend’s house where FV-l was
given a shot to calm the tooth infection. Later, Toure drove FV-l to a large hospital in
downtown Dallas, where her tooth was removed. Records from Texas A&M College of
Dentistry confirm that FV-l ’s tooth was extracted on July 23, 2014. The records include Toure
and Cros-Toure’s address and Cros-Toure’s cellphone number, and further list FV-1’s DOB as
March 21,1991.

24. FV-l stated that Toure and Cros-Toure told others that she was their niece As

FV-l became older, they began to tell people that she had finished high school and was

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contemplating college Although untrue, FV-l would repeat it, because she was embarrassed

that it was not true

25. FV-l stated that when the three oldest children had gone to college, which the
investigation has determined was around 2013, Cros-Toure permitted FV-l to work outside of
the home several times, but FV-l had to obtain Cros-Toure’s permission and provide her with
all of the details, including location and times For instance, W-4 occasionally asked FV-l to
babysit her children. FV-l made on average about $20 to 840 per job. Eventually, FV-l was
able to give $50 of that money to one of the Toure children to purchase a Kindle Fire tablet for

her.

thsical and Emotional Abuse by Toure and Cros-Toure

26. FV-l stated that Toure and Cros-Toure started physically abusing her when she
did not perform the labor and domestic services to Cros-Toure’s liking. Cros-Toure’s
punishment methods increased as FV-l ’s pain tolerance increased: for example, slapping led to
the use of a belt, which then led to the use of an electrical cord to strike FV-l. When Cros-
Toure would use an electrical cord to beat FV-l, FV-l would raise her arms in defense l have
observed visible scars consistent with being struck by an electrical cord on FV-l ’s arms As FV-
l became older, Toure and Cros-Toure punished her less, because she made fewer mistakes

FV-l recalled specific assaults, including but not limited to the following:

a. On one occasion, while the Toure children were at school, Cros-Toure found FV-l
upstairs drawing instead of cleaning the house. Cros-Toure became angry and took
FV-l to the bathroom and started hitting her.

b. On another occasion, Cros-Toure ripped FV-l ’s left earring out, tearing her ear lobe.
l have observed a visible scar and slit in FV-l earlobe consistent with having an
earring ripped from her pierced ear.

c. On another occasion, Toure struck FV-l and twisted her arm.

d. On another occasion, Toure sat on FV-l ’s back while Cros-Toure was trying to hit

FV-l with the belt, but FVI was moving around and trying to grab the belt, Toure

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came in and sat on FVI’s back so that Cros-Toure could strike FVI on the bottom

with a belt.

27. FV-l stated that from the moment she arrived at the Toure residence, Cros-Toure
frequently yelled at her in connection with FV-l work. Cros-Toure also yelled at FV-l if she
perceived that FV-l was not listening to her. Sometirnes Cros-Toure would tell Toure what
was wrong with FV-l ’s work, and Toure would yell at FV-l. On one occasion, Cros-Toure
told FV-l that she was just a “slave.” On another occasion, during a recorded conversation in
2016 that is discussed below, Cros-Toure called FV-l a “whore” in front of Toure and told
FV-l that she was “just a little nothing.” When FV-l told Cros-Toure that she had proof of the

abuse she had suffered over the years, Toure stated “who do you think you are?”.

28. FV-l stated that Cros-Toure routinely kicked her out of the Toure house as
punishment related to FV-l ’s labor and domestic services On occasion, FV-l had to sleep in a
nearby park until Cros-Toure permitted her to return. FV-l had nowhere else to go. She was
undocumented, did not speak English, did not have any money, did not have identification, and

did not have a car.

29. FV-l stated that on one occasion, after Cros-Toure kicked her out of the Toure
house, a police officer encountered her in the park and returned her to the Toure residence A
report from the Southlake Police Department shows that officers were dispatched to Bicentennial
Park for a possible runaway on April 30, 2002. Per the report, FV-l was “wearing dirty unkept
clothing, and was very visibly scared and nervous.” She directed the officers to the Toure
residence Cros-Toure told the officer that FV-l was her cousin whom they were adopting from
Guinea.3 Cros-Toure stated that she would be home-schooling FV-l until she could attend
public school. Cros-Toure did not know FV-l ’s date of birth and advised “they don’t keep
track of that information” in Guinea. The report reflected FV-l year of birth as 1990. Toure
told the officers that he and Cros-Toure had been “trying to find” FV-l when she did not come

 

3 There is no birth certificate for FV-l in the Texas Bureau of Vital Records, which would have been produced if
Toure and Cros-Toure had legally adopted FV-l.

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home When the officers asked Toure (1) how long FV-l had been missing, (2) if she was
allowed to leave alone, and (3) why they had not called 911, Toure seemed evasive The report

does not indicate that Toure answered the questions

30. FV-l stated that Cros-Toure threatened to send her back to Guinea. Eventually,
closer in time to when FV-l escaped in 2016, FV-l responded to those threats by telling that
Cros-Toure that she wanted to go back. Toure then took FV-l to a CVS to have a passport
photo taken, but neither Toure nor Cros-Toure took any other steps towards sending FV-l back.
During a recorded conversation that occurred in 2016, Cros- Toure told FV-l, in the presence of
Toure, “l will get your passport, [when] l am ready - when l have the money to pay the people
That’s the way it’s going to work.” Later in the conversation, Cros-Toure stated that she will

not “waste” money on FV-l ’s passport.

Escape in August 2016
31. FV-l stated that Cros-Toure became angry with her on Father’s Day (June 19) in

2016, because FV-l did not prepare anything for dinner. During this incident, Cros-Toure
called Toure and Toure yelled at FV-l about the dinner. When FV-l raised her voice back to
Toure, Cros-Toure then yelled at FV-l. When FV-l attempted to flee the Toure house
following the incident, Cros-Toure blocked the stairway. FV-l then jumped out of the window
to escape FV-l spent the night in the park, and then contacted W-4 and stayed with W-4 for a

few days W-4 observed injuries on FV-l.

32. W-4 stated that she was unable to care for FV-l at the time, so she called W-6 to
help. W-6 picked up FV-l and let her stay at her residence for approximately a week. FV-l told
W-6 about Toure and Cros-Toure’s mistreatment of her and that she had never attended school.
Sensing no other options, W-6 returned FV-l to the Toure residence W-6 relayed some of the
information FV-l had confided in her to Cros-Toure Cros-Toure told W-6 that FV-l was
lying, that FV-l had finished high school, and that they were sending her back to Guinea.

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33. After being returned to Toure and Cros-Toure, FV-l used her tablet to record a

conversation with Toure and Cros-Toure, which has previously been referenced4

34. Subsequently, Cros-Toure would not allow FV-l to do anything or go anywhere
When FV-l asked to go out, Cros-Toure told her no and that her responsibilities were in the

house FV-l felt stuck, that she had no options, and contemplated suicide

35. On or about August 9, 2016, FV-l reached out to an old neighbor, W-1, who had
provided FV-l with her phone number years ago. They met at a local Starbucks and FV-l
explained that things had gotten worse for her at Toure and Cros-Toure’s residence W-l
contacted W-5, W-l ’s friend who also had lived in Southlake and was familiar with FV-l and
the Toure family. W-l told FV-l to return to the Toure residence and get proof, such as photos,
that she had lived there over the years FV-l obtained photographs of her and the Toure family,
which l have reviewed. Several witnesses then helped FV-l escape the Toure house on or about
August 16, 2016, after the weekend was over. When she returned to the house, FV-l found her
travel documents and took them with her when she left. On August 17, 2016, FV-l waited until
Cros-Toure and the children were away from the house and then fled carrying only a duffle bag

and backpack. She was then brought to the YMCA.

36. Through the investigation, l determined that Toure and Cros-Toure did not
contact the police to report FV-l missing, or for any other purpose, following her departure from

their horne in August 2016.

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4 The conversation occurred in French and English. The French portions were translated by the State Department

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CONCLUSION
37. Based on the foregoing facts and circumstances l respectfully submit that there is
probable cause to believe that between October 28, 2000, and continuing through in or about
August 2016 within the Northern District of Texas - Fort Worth Division, Mohamed Toure and
Denise Cros-Toure committed the offense of Forced Labor and aided and abetted one another in

committing Forced Labor. the offense of Conspiracy to Commit Forced Labor.

    

Special Agent
Department of State
Diplomatic Security Service

`\*~ ,
Subscribed and sworn before me this 24 day ofA ril 2018 at / ' // a.m/@ in
Fort Worth, Texas

 

 

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